                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:15-cr-00070-2
                                                      )       Judge Trauger
BYRON FERNANDEZ-VIRULA, JR.                           )
                                                      )

                                            ORDER

       This defendant filed a Motion for Bill of Particulars (Docket No. 94) on September 1,

2015, and the government responded on September 17, 2015 (Docket No. 99). The government

asserts that the additional productions made to the defendant on October 1, 2015 will moot the

motion. In light of the fact that the defense has not countered that assertion, the court presumes

that the assertion is correct. For these reasons, this defendant’s Motion for Bill of Particulars

(Docket No. 94) is DENIED AS MOOT.

       It is so ORDERED.

       ENTER this 30th day of October 2015.




                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




 Case 3:15-cr-00070         Document 126         Filed 10/30/15      Page 1 of 1 PageID #: 613
